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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                                Judge Marcia S. Krieger

Civil Action No. 20-cv-01366-MSK

ANDREA C. JOHNSTON,

       Plaintiff,

v.

ANDREW M. SAUL, Commissioner of Social Security,

       Defendant.


                                                ORDER

Krieger, J.

       The matter before the court is plaintiff’s Complaint (# 1), filed May 13, 2020. The Local

Rules of Practice of the United States District Court for the District of Colorado – AP Rules

establish deadlines for the submission of opening, response, and reply briefs in social security

appeals. See D.C.COLO.LAPR 16.1(b). To further manage the marshaling and presentation of

evidence and arguments in these cases, the court finds and concludes that appropriate page

limitations on these written submissions are indicated.

       THEREFORE, IT IS ORDERED as follows:

       1. That opening and response briefs shall be limited to no more than twenty (20) pages;

       2. That reply briefs shall be limited to no more than ten (10) pages; and

       3. That the foregoing page limitations shall apply to the legal argument portion of the

brief or response, but shall not include the cover page, jurisdictional statement, table of contents,

or statement of facts and procedural history.
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     Dated this 18th day of May, 2020.

                                             BY THE COURT:




                                             Marcia S. Krieger
                                             Senior United States District Judge




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